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                   IN THE UNITED STATES DISTRICT COURT

             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

HARRISON CAPEL,
                                    COMPLAINT
BROOKE NORMAN, and
                                    Civil No. 4:18-cv-918
The ESTATE OF THOMAS DANIEL
CAPEL,                              Judge Brann
     Plaintiffs,
                                    (JURY DEMANDED)
v.

LAURA CAPEL,
     Defendant.




                                    Baker & McKenzie LLP
                                    /s/ Kathryn Rimpfel
                                    Kathryn Rimpfel (PA319238)
                                    Teddy Baldwin (DC973850; pro hac vice
                                            application forthcoming)
                                    Graham Cronogue (DC1044036; pro hac vice
                                            application forthcoming)
                                    815 Connecticut Ave, NW
                                    Washington, DC 20006
                                    Phone: (202) 452-7000
                                    Fax: (202) 452-7074
                                    Kathryn.Rimpfel@bakermckenzie.com
                                    Teddy.Baldwin@bakermckenzie.com
                                    Graham.Cronogue@bakermckenzie.com
                                    Attorneys for Plaintiffs
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       Plaintiffs Brooke Norman, the Estate of Thomas Dan Capel, and Harrison Capel file this

memorandum of points and authorities in opposition to Defendant Laura Capel’s (“Defendant”)

Motion to Dismiss or Stay the Proceedings.

       In short, Defendant completely misses the point. She posits that that “gravamen of the

instant Complaint is that [Defendant] is misrepresenting that she is Mr. Capel’s surviving spouse,”

Pl. Br. at 2, and from there tries to argue that this matter is best resolved by some other court.

That is wrong. This case does not turn on who is Dan Capel’s legal “surviving spouse” and

cannot be decided on those grounds. Whether the Defendant never divorced or not is not

dispositive to any of the claims. Rather, this case is about the fraudulent statements and other

misconduct stemming from the pre-divorce Separation Agreement—a contract that this Court is

well-equipped to enforce. The core legal issue, therefore, is whether Defendant lied to Plaintiffs

about waiving her legal rights associated with marriage in order to obtain money under false

pretense. And, because Defendant waived these rights in the binding Separation Agreement, the

answer to that question will not turn on whether a state court finds that Defendant actually

divorced Thomas Capel.

       Lest there be any doubt that the existence (or non-existence) of a divorce has no impact

whatsoever on the Defendant’s rights, duties, and liability, the Separation Agreement itself

provides the following:

       This Agreement shall not be merged in [a divorce] Decree, but shall in all
       respects survive the same and be forever binding and conclusive on the
       parties.

Applying the terms of the Separation Agreement, whether or not Defendant lied to Plaintiffs Dan

Capel and Brooke Norman about obtaining a divorce will not change the central issue—




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Defendant violated and engaged in fraud with respect to the Separation Agreement. 1 Thus, even

assuming Defendant was Thomas Capel’s “surviving spouse” at his death, Defendant engaged in

actionable misconduct that gives rise to these claims by lying about her separated status in order

to steal money from Plaintiffs pursuant to the Separation Agreement. Because Defendant’s

motion focuses myopically on the unimportant question of “divorce” and fails to address the

indisputable (and dispositive) fact that it was through the Separation Agreement that Defendant

executed her fraud and other misdeeds, the motion should be denied on those grounds alone.

        However, there are more errors. Most notably, Defendant’s Rule 12(b)(6) arguments

apply the wrong standard. Defendant admits that she must take all factual allegations as true and

all inferences in the light most favorable to Plaintiff. But she does not do that. In the main,

Defendant’s factual recitations are unsupported by the Complaint and, in some cases, they are

directly contrary it. For instance, the Complaint alleges that Brooke Norman made payments to

Defendant and that Defendant was aware of these payments as well as the reason for them, yet

Defendant counters—without citing any part of the Complaint—with her own version of facts,

i.e. that Defendant did not know and that the payments did not actually come from Ms. Norman.

These sorts of credibility issues could not be decided at the motion for summary judgment stage,

and they are certainly not appropriate for a Rule 12(b)(6). Applying the proper standard, it is

clear that Plaintiffs have provided factual allegations that—if proven at a later date—would state

a plausible claim for relief.

        Further, Defendant ignores that the majority of these claims are governed by FRCP 8(a)’s

notice pleading standard. While Defendant apparently would like pinpoint precision in each and




1
 There are also instances of breach of contract, defamation and other misconduct discussed
below, which could be actionable separate and apart from the fraud.
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every claim, the standard in this jurisdiction is notice pleading. Plaintiffs’ robust Complaint

more than satisfies the requirements of putting Defendant on notice as to allegations against her.

       Defendant also misstates the fraud claim and misapprehends the requirements under Rule

9(b) for stating fraud with particularity. The fraud claim is simple: in signing the Separation

Agreement, Defendant made the materially false representation that she would not assert any

legal rights to control Dan Capel or his belongings; and in demanding and receiving the

separation payments from Ms. Norman and Dan Capel, Defendant reiterated these false

statements to Dan Capel and Ms. Norman (through Dan Capel). Obviously, these misstatements

were made so that Ms. Norman and Dan Capel would begin making payments to her, and

Defendant continuously withheld the true information so that the checks would keep coming.

Plaintiffs justifiably relied on Defendant’s promises when they paid her and were clearly harmed

each time they made payments and later when Defendant tried to control Dan Capel and punish

Plaintiffs. This is more than enough “precision” to let Defendant know of what she is accused.

       In addition to her affirmative misrepresentations, Defendant also made fraudulent

omissions. Specifically, she knew that Ms. Norman was being duped by Defendant’s own

statements into paying the separation payments, yet continued to take her money. Defendant’s

only response to this is that it was not her fault that Defendant’s fraudulent scheme also harmed

Ms. Norman. There is absolutely no support for her assertion that a victim of a fraudulent

scheme cannot state a claim for fraud because the fraudster chose to remain silent.

       Defendant makes two additional ploys to escape liability: a stay; and abstention.

However, both of these claims fail because the proceedings upon which she relies do not involve

identical parties, do involve very different legal issues and determinations, and will have no

impact on the resolution of this proceeding.



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                                            DISCUSSION

  I.    The Motion to Dismiss Fails To Take the Facts in the Light Most Favorable to the
        Moving Party

        Defendant’s motion is fundamentally flawed because it misapplies the motion to dismiss

standards in multiple ways: it fails to take the facts alleged in the complaint as true; cherry-picks

factual allegations, ignoring other allegations; tries to take the inferences favor of the moving

party; and seeks significantly more specificity than is required under the Rules. But, as this

Court is well aware, the facts in the complaint must be accepted as true. This is hornbook law.

The established corollary to that principle is that, any reasonable dispute regarding

interpretations of the facts must be interpreted in favor of the plaintiff.

        For instance, Plaintiffs allege that Brooke Norman made payments to Defendant;

therefore, the only proper analysis at this stage is one that assumes Ms. Norman made those

payments. See Compl. at 171 (“Ms. Norman did in fact rely upon Defendant’s statements,

representations and material omissions and paid several hundreds of thousands of dollars, both

directly and indirectly, to the Defendant.”). Accordingly, Defendant’s contrary assertion that

only Dan Capel made these payments is simply wrong, and any argument predicated on this

improper interpretation fails.

        Relatedly, notice pleading does not require a plaintiff to assert or prove any facts with

particularity.   The standard in this District and Circuit is clear: “Factual allegations in a

complaint -- even if ‘conclusory’-- are sufficient if they allow the defendant to understand the

gist of the plaintiff’s claim, thereby making it possible to formulate a meaningful response. . . .”

In re Pressure Sensitive Labelstock Antitrust Litig., 356 F. Supp. 2d 484, 493-94 (M.D. Pa. 2005)

(internal quotes committed) (“The Amended Complaint's averments concerning MACtac, albeit

sparse, are sufficient to satisfy this purpose. Details as to ‘when and how’ MACtac and Avery

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engaged in parallel conduct and the precise contours of any agreement or understanding ‘would

likely be known only by the 'alleged co-conspirators,' and hence should not be required in the

complaint.’”).   “The hurdle at the motion to dismiss stage in a notice pleading setting such as

this is relatively low, because there exist later mechanisms for determining factual disputes.” In

re: Carbon Black, 2005 U.S. Dist. LEXIS 660, 2005 WL 102966, at *6. Thus, a plaintiff

satisfies its burden at the pleading stage “‘when the suggested inferences rise to what experience

indicates is an acceptable level of probability.’” In re Pressure Sensitive Labelstock Antitrust

Litig., 356 F. Supp. 2d 484, 493-94 (M.D. Pa. 2005) (“In this case, Plaintiffs have provided

adequate notice of the nature of their claim against MACtac, the claim is "based on reasonable

inferences to be drawn from a series of observed actions, business practices, and market

conditions.”).

       This is so because Rule 8(a) of the Federal Rules of Civil Procedure established a “liberal

system of ‘notice pleading,’” which "[does] not require a claimant to set out in detail the facts

upon which he bases his claim." Leatherman v. Tarrant Cty. Narcotics Intelligence &

Coordination Unit, 507 U.S. 163, 168, 113 S. Ct. 1160, 1163 (1993). All that is required is “‘a

short and plain statement of the claim . . .,’” giving “‘the defendant fair notice of what the

plaintiff's claim is and the grounds upon which it rests.’” Swierkiewicz v. Sorema N.A., 534 U.S.

506, 508, 122 S. Ct. 992, 995 (2002). Thus, all claims for relief, other than those based upon

fraud or mistake, fall within the “liberal system of ‘notice pleading’” which “‘[does] not require

a claimant to set out in detail the facts upon which he bases his claim.’” Leatherman, 507 U.S. at

168; Thomas v. Adams, 55 F. Supp. 3d 552, 568 (D.N.J. 2014) (“Iqbal did not change a single

word of Rule 8(a) (or Rule 12(b)), or the meanings of these Rules: the actual holding of Iqbal

merely elaborated on the Supreme Court's original passim observation in Dura that ‘it should not



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prove burdensome [for a plaintiff] to provide [his defendants with] some indication of the [facts]

that the plaintiff has in mind.’”).

        The heightened requirement for fraud claims does not alter the result here. “Granted, the

rules do specifically require that fraud be pleaded ‘with particularity,’ but this requirement must

be read in conjunction with the liberal pleading rules, which eschew obsolete technicalities.

Beascoechea v. Sverdrup & Parcel & Assocs., Inc., 486 F. Supp. 169, 174 (E.D. Pa. 1980)

(citing Denny v. Carey, 72 F.R.D. 574 (E.D.Pa.1976); duPont v. Wyly, 61 F.R.D. 615

(D.Del.1973); United Insurance Co. of America v. B. W. Rudy, Inc., 42 F.R.D. 398

(E.D.Pa.1967)). “The rules do not impose a rigorous burden of pleading on plaintiff, and do not

require plaintiff to plead every element of fraud.” Id. “Rather, plaintiff must set forth facts with

sufficient particularity to apprise defendants fairly of the charges against them.” Id. (citing

Union Mutual Life Insurance Co. v. Simon, 22 F.R.D. 186 (E.D.Pa.1958). See also Consumers

Time Credit, Inc. v. Remark Corp., 227 F. Supp. 263 (E.D.Pa.1964).). Accordingly, if the

plaintiff “identified ‘with particularity’ the circumstances surrounding the alleged fraud, plaintiff

[] plead[s] fraud sufficiently to withstand a motion to dismiss or for a more definite statement.”

Id. Applying this proper standard, the analysis should consider the following:

     1. Defendant entered into a Separation Agreement with Thomas Capel; (E.g., Compl. at 4);

      2.      Under the terms of the Separation Agreement, Defendant agreed to be
permanently separated from Thomas Capel; (Id. at 94);

       3.      She could not assert any legal rights that would normally be associated with
marriage; (See Ex. A to Complaint).

        4.      She, in return, would receive large sums of money, a house, expenses for horses
and tuition, etc.; (Id. at 79) (detailing payments).

        5.      Defendant had no intention of abiding by these terms; (E.g., Compl. at 191-94).




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       6.    But, pursuant to these terms, she demanded and received payments from two
people: Dan Capel and Brooke Norman; and she knew that the money she received was from
Thomas Capel and Brooke Norman; (E.g. Compl. at 130-32).

        7.     In demanding, receiving, and depositing this money, she represented that she
would not—among other things— “molest” Dan Capel or interfere, exert authority, contact and
control over him; (Id. at 77-79, Ex. A).

      8.       She promised to forever treat him as though they were “single and unmarried”;
(Compl. at 78).

       9.      But these were all false pretenses—she never intended to abide by these terms;
(E.g. Compl. at 191-94).

        10.   Dan Capel and Brooke Norman relied on these representations by, among other
things, paying part of the separation payments, marrying Thomas Capel, living with Thomas
Capel, not seeking a change of Thomas Capel’s will (because the purported executrix had
waived her right as executrix and heir); (E.g., id. at 157, 162-63).

        11.    Defendant learned of Brooke Norman’s marriage and clearly knew of her reliance
on the terms of the Separation Agreement; (E.g., id. 157-163).

        12.    She did not tell Brooke Norman that she would claim that she was still married or
that she would invoke all of the rights Brooke Norman thought she was obtaining as the result of
the marriage; (Id.).

       13.     Defendant withheld this information because she knew that the payments would
stop and intended for Ms. Norman to rely on her misrepresentations and subsequent silence; (Id.).

         14.   Defendant wanted and did continue accepting the money on these false pretenses;
(Id.).

      15.     Each time a check was asked for, received, or cashed these misrepresentations
were made; (Id.; id. at 171)

        16.     When Thomas Capel died, Defendant revealed that she never had any intention of
living up to the terms of the agreement; (E.g., Compl. at 61).

         17.   She invoked the rights that she promised to never invoke;

         18.   After invoking these rights, she began to engaged in further fraud and deception;

       19.    She had Dan Capel’s daughter “call a federal agency and pretend to be Dan
Capel’s wife, Ms. Norman”; (Id. at 111).




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        20.     She had someone call and pretend to be a business partner of Dan Capel’s in order
to find out information about a business of his. (Id. at 112).

      21.    Not only was this fraudulent, but this was also a violation of the Separation
Agreement, which provided that:

        each party hereby waives and relinquishes any and all rights he or she may now have or
        hereafter acquire . . . to share in the property or the estate of the other as a result of the
        marital relationship . . . . (Ex. A); Compl. at 76.

        22.     She also disparaged those close to Dan Capel in order to harm them; (E.g. Compl.
at 135).

        23.    She accused Brooke Norman of just “pretending” to be with Dan Capel and not
actually loving him; she said that Ms. Norman was trying to “steal” Dan Capel; (Id. at 134-36).

       24.     She instituted an action in North Carolina, falsely claiming under oath that Dan
Capel did not live in North Carolina; (E.g. Compl. 92-95).

       25.     She instituted an action in Pennsylvania, falsely claiming under oath that Dan
Capel resided in Pennsylvania;( Id.).

      26.     These actions caused extreme emotional distress to Brooke Norman and have
harmed her reputation and standing in her community. (Id. at 209-15).

        As discussed below, these statements more than provide sufficient notice to Defendant of

the causes of action alleged and—when accepted as true—clearly would support a plausible

claim for relief.

 II.    Plaintiffs Have Stated a Cause of Action for Conversion
        As discussed supra, a complaint need not state with precision each and every fact giving

rise to a claim. Rather, to satisfy FRCP 8, it need only put the defendant on notice as to the

conduct alleged. Thus, for the conversion claim to survive a motion to dismiss, the Complaint

need only put Defendant on notice that she has deprived Plaintiffs of their right to use or enjoy

their property, that Plaintiffs did not give consent, and Defendant lacks a legal justification.

        Here, the Complaint plainly states that Defendant has exercised control over assets

belonging to Plaintiff. It alleges that Defendant has started a “probate action in Pennsylvania,”


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Compl. at 88, and that she has also claimed benefits to which Plaintiffs are rightfully entitled, id.

at 102, 144, 147. Obviously, an executrix exercises control over the estate and the recipient of

spousal/family benefits exercises control over those funds to the exclusion of other family

members. Therefore, there is no issue with notice as to the alleged control or deprivation.

       Defendant’s issue seems to focus on the fact that Plaintiffs have not identified which

specific things were stolen. See Pl. Br. at 7. But this too is wrong. First, even Defendant admits

that Plaintiffs have identified certain stolen benefits, i.e. put her on notice as to the conversion

claim. So, Defendant’s argument really seems to be that Plaintiffs have identified only some of

the property she stole (but not all converted property). This is an erroneous argument and

obviously does not support dismissal of the entire claim. Further, because there has been no

discovery, the extent to which Defendant has robbed the Estate of Dan Capel and his family is

currently known only to Defendant. This is precisely why the rules do not require particularity

in the complaint. At the very least, Defendant’s admission that Plaintiffs have identified some

stolen property is enough to allow the claim to stand as to those stolen funds.

       Lastly, Defendant makes a passing reference to an argument that Plaintiffs are not

entitled to these funds and/or that they did not prove that Defendant has no justification. This is

bizarre. The entire complaint is premised on factual allegations that Defendant waived her rights

to collect money from Dan Capel and that she is a fraudster who has no claim to these funds.

The obvious inference from these allegations is that Plaintiffs are entitled to this property and

Defendant is not.

III.   Plaintiffs Have Stated a Cause of Action for Interference with Prospective Economic
       Advantage and/or Intentional Interference with Contractual Relations

       Defendant moves to dismiss the claims regarding interference with Plaintiffs’ contractual

rights to receive benefits in the event of Mr. Capel’s death on the grounds that there is no

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“prospective contractual relationship between themselves and any other party.” Pl. Br. at 8.

This flatly ignores the Complaint, which states that Plaintiffs had a contractual right under Dan

Capel’s various life insurance policies, survivor benefits, and other end-of-life contracts.

Because there is a prospective contract at issue (indeed multiple ones) and Defendant took

affirmative steps to interfere with those contracts, the motion to dismiss this claim fails.

IV.     Plaintiffs Have Stated a Cause of Action for Fraud

        Defendant’s arguments regarding the fraud claim grossly misstate the factual allegations

and severely understate her culpability. Specifically, Defendant seems to argue that she was

passively involved in the fraud and that her only fault is not telling Plaintiffs her marital status.

That is a distortion of the allegations.

        The Complaint alleges that Defendant was far from silent: Defendant affirmatively stated

in the Separation Agreement that she waived all legal rights vis-à-vis Dan Capel, affirmatively

demanded payments from Dan Capel and Brooke Norman based on her promise not to claim

these legal rights or otherwise try to control him, and actively accepted and deposited the money

she received from them, knowing full well that they would not have made these payments had

she not lied. These are active misrepresentations directed at Dan Capel and Brooke Norman.

That Defendant may not have directly stated these lies to Brooke Norman but rather used Dan

Capel or other intermediaries to relay these lies to Defendant is irrelevant—she made these

statements with the intention that Dan Capel and Brooke Norman rely on them.

        To be clear, the omissions are actionable as well. Defendant’s argument seems to be that

only Dan Capel was the target of the fraud and, therefore, any other victims of her misstatements

have no claim. This is laughable. Having orchestrated a fraudulent scheme, Defendant had a

duty to not receive payments from other “non-parties” who were duped by her statements. A


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contrary result would be untenable. This would be akin to allowing a fraudster to create a false

charity to con, say, widows into give her a “donation” and then arguing that she is not liable

when the widow’s son contributes money to the cause based on those same lies.

       Lastly, the Complaint is in compliance with Rule 9(b). First, Defendant herself admits

that Plaintiffs provided some dates; thus, the requisite specifics have been provided. Second,

dates are far from necessary at this stage; all that is needed is some “additional precision.” As

discussed supra, “[t]he rules do not impose a rigorous burden of pleading on plaintiff, and do not

require plaintiff to plead every element of fraud.” Beascoechea v. Sverdrup & Parcel & Assocs.,

Inc., 486 F. Supp. 169, 174 (E.D. Pa. 1980). “Rather, plaintiff must set forth facts with sufficient

particularity to apprise defendants fairly of the charges against them.” Id. (citing Union Mutual

Life Insurance Co. v. Simon, 22 F.R.D. 186 (E.D.Pa.1958). See also Consumers Time Credit, Inc.

v. Remark Corp., 227 F. Supp. 263 (E.D.Pa.1964).). Accordingly, if the plaintiff “identified

‘with particularity’ the circumstances surrounding the alleged fraud, plaintiff [] plead[s] fraud

sufficiently to withstand a motion to dismiss or for a more definite statement.” Id. Here,

       Plaintiffs plainly stated what the lies were, when they started, i.e. when the Separation

Agreement was signed. Plaintiffs plainly stated who relied upon the lies (Dan Capel and Brooke

Norman) and that each time a payment was received this was reliance and constituted another

misrepresentations. 2 Because there can be no doubt as to who is the fraudster, against whom she

committed the fraud, and the content of her misstatements, Plaintiffs have stated a claim.




2
  The demand for dates is especially weak where, as here, the Plaintiffs have alleged that every
single payment was the result of fraud and every single payment was actionable. If Defendant
were truly confused as to when she stole the money, she could look to her own bank statements,
which reflect the pay statements.
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 V.    Plaintiffs Have Stated A Cause of Action for Negligent Misrepresentation

       Defendant seeks to dismiss the negligent misrepresentation claims based on the same

misstatement of the Complaint. As explained in the fraud discussion supra, Plaintiffs are not

suing because of Defendant’s lies regarding her marital status; they are suing because she

fraudulently entered into a contract she had no intention of honoring, demanded payments

pursuant from that contract, and cashed and received payments from those who she knew or

should have known were relying on her statements.          Further, Defendant is not a passive

participant—she actively reached out to Dan Capel and to Brooke Norman (through Dan Capel).

Thus, this alternative theory to the fraudulent representation claims should be allowed to survive

this preliminary stage.

VI.    Plaintiffs Have Stated A Cause of Action for Defamation

       Defendant seeks to dismiss the defamation and defamation per se actions on the grounds

that Ms. Norman has no identified special harm. However, even Defendant admits that “words

that impute (1) criminal offense, (2) loathsome disease, (3) business misconduct, or (4) serious

sexual misconduct,” satisfy this standard. Pennoyer v. Marriott Hotel Servs., 324 F. Supp. 2d

614, 618 (E.D. Pa. 2004). The Complaint alleges that Defendant publicly stated that Ms.

Norman was trying to “steal” Dan Capel, “pretending” to be his with and co-habitating with a

man she allegedly knew was married to someone else. Clearly, such statements more than

impute serious sexual misconduct and are actionable.

VII.   Plaintiffs Have Stated a Claim for Intentional Infliction of Emotional Distress

       Defendant argues that Ms. Norman’s s IIED claim fails to allege “extreme and

outrageous” conduct.      But, again, the Defendant short-sells the depth of her depravity.

Defendant’s actions are not limited to merely publishing “scandalous” information. Defendant


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 manufactured a web of lies and engaged in a years-long pattern of deception and manipulation in

 order to steal money from Plaintiffs. Then, shortly after Dan Capel’s heart stopped beating, she

 began to intimidate, threaten, and harass his loved ones. For no reason other than to harm Ms.

 Norman, Defendant made disparaging comments about the man she knew Ms. Norman loved;

 she disparaged their relationship, calling their years-long relationship a lie. And to top it all off,

 she tried to take the Ms. Norman’s closest friend and loved one’s body. Plaintiffs respectfully

 ask that this Court take a moment to let this last part sink in. Defendant has been trying to

 capture the body of a man who spent the last few years of his life paying large sums of money in

 order to keep her away; a man who gave up his entire home, his horses, and his cars, so that she

 would leave him alone. If a defendant deceiving and manipulating a family for years, only to

 spring her trap when her victims are at their most vulnerable and then trying to take his body is

 not “extreme and outrageous” then this standard is unattainable.

        Defendant also argues that Plaintiff has not adequately described her emotional and

 physical ailments. However, this is a motion to dismiss—the plaintiff need only allege facts that,

 taken in the light most favorable to plaintiff, put defendant on notice as to the allegations against

 her and to the suffering of physical ailments.        Clearly, Defendant has notice of the facts,

 circumstances and results. She will obtain additional specificity using the mechanisms designed

 for specificity, i.e. discovery. An IIED claim is not subject to Rule 9(b) anyway.

VIII.   Defendant Asks for the Wrong Form of Relief

        Defendant’s motion is premised on the flawed notion that allegations are vague or

 conclusory. These are not proper arguments on a motion to dismiss. But, to the extent, the Court

 is not satisfied with the specificity in this notice, the proper remedy is leave to amend.




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IX.    Defendant’s Colorado River Doctrine Argument has No Merit

      Defendant claims that this case presents the “extraordinary circumstances” required for this

court to abstain from its duty to exercise its jurisdiction under the under the Colorado River

doctrine. But as explained below, Defendant does not even satisfy the requisite, threshold

showing of parallel state proceedings, which is fatal to her argument, and thus never makes it to

the “extraordinary circumstances” six factor-test she applies in her brief. Nor could she satisfy

that test, even assuming there was reason to apply.

      The Supreme Court explained the narrowness of the doctrine:

      Abstention from the exercise of federal jurisdiction is the exception, not the rule. The
      doctrine of abstention, under which a District Court may decline to exercise or
      postpone the exercise of its jurisdiction, is an extraordinary and narrow exception to
      the duty of a District Court to adjudicate a controversy properly before it. Abdication
      of the obligation to decide cases can be justified under this doctrine only in the
      exceptional circumstances where the order to the parties to repair to the state court
      would clearly serve an important countervailing interest.

Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 813-14

(1976)(quotations omitted). This Court has further elaborated that it “it is axiomatic that federal

courts have a virtually ‘unflagging obligation’ to exercise the jurisdiction given them by

Congress.” Greg Welteroth Holding, Inc. v. Alejo Mo Sun, 2013 U.S. Dist. LEXIS 194143 (M.D.

Pa. Dec. 13, 2013), adopted by sub nom, 2014 U.S. Dist. LEXIS 194487 (M.D. Pa., Mar. 18,

2014)(J. Judge Brann) (citing Ryan v. Johnson, 115 F.3d 193, 195 (3d Cir. 1997)). “Accordingly,

Colorado River abstention must be grounded on more than just the interest in avoiding

duplicative litigation.” Id. (citations omitted). Ultimately “[o]nly the clearest of justifications

warrant the granting of a stay” under this doctrine. Id.

      Nowhere does Defendant acknowledge that to apply this doctrine, she must satisfy a two-

part test, and that failure of the first part precludes abstention. The Third Circuit has explained:

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      Whether abstention is appropriate is a two-part inquiry. The initial question is
      whether there is a parallel state proceeding that raises "substantially identical claims
      [and] nearly identical allegations and issues." Yang v. Tsui, 416 F.3d 199, 204 n. 5
      (3d Cir. 2005) (internal quotation and citation omitted). If the proceedings are
      parallel, courts then look to a multi-factor test to determine whether "extraordinary
      circumstances" meriting abstention are present.

Nationwide Mut. Fire Ins. Co. v. George V. Hamilton Inc., 571 F. 3d 299 (3d Cir.

2009)(emphasis added). See also, e.g., Golden Gate Nat'l Senior Care, LLC v. Minich, 629 Fed.

Appx. 348 (3d Cir. Oct. 16, 2015)(“ first step a district court must take before abstaining under

Colorado River is to determine whether the federal and state proceedings are parallel….. If a

court finds the proceedings to be parallel, it then carefully balances a host of factors to determine

if abstention is warranted….”); Fuller v. Insys Therapeutics, Inc., 2018 U.S. Dist. LEXIS 18431

(D.N.J. Jan. 19, 2018), adopted sub nom, 2018 U.S. Dist. LEXIS 18491 (D.N.J., Feb. 5,

2018)(concluding under first step that cases are not parallel, and not proceeding on to six factors).

   A.      Defendants Fails to Show Parallel Cases

        As the Third Circuit has explained, “Two proceedings generally are considered parallel

when they ‘involve the same parties and substantially identical claims, raising nearly identical

allegations and issues,’” Yang v. Tsui, 416 F.3d 199, 204 n.5 (3d Cir. 2005) (citation and internal

quotation marks omitted), and when plaintiffs in each forum seek the same remedies, see Harris

v. Pernsley, 755 F.2d 338, 346 (3d Cir. 1985).” Golden Gate, 629 Fed. Appx. at 350. See also,

e.g, Welteroth Holding, 2013 U.S. Dist. LEXIS 194143 (“Generally, cases are parallel when they

involve the same parties and claims.”). See also, Fuller, 2018 U.S. Dist. LEXIS 18431 (“Parallel

proceedings are those that are ‘truly duplicative,’ that is, when the parties and the claims are

‘identical,’ or at least ‘effectively the same.’” (emphasis added)). Cases are not parallel where

the “federal court case involves claims that are distinct from those at issue in [the] state court


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case,” such as where the parties “employ substantially different approaches which might achieve

potentially different results.”) (quoting Kelly v. Maxum Specialty Ins. Grp., 868 F.3d 274, 285

(3d Cir. 2017)(case cited by Defendant)).

        Here, as Defendant acknowledges, none of the Plaintiffs are a party in the Pennsylvania

probate action. And as Defendant acknowledges, neither Plaintiff Harrison Capel nor Plaintiff

the Estate are party to the North Carolina case. This is fatal to Defendant’s abstention argument.

See Welteroth, 2013 U.S. Dist. LEXIS 194143 (“In the divorce proceeding, filed in the State of

California, Sun seeks to have [Plaintiff] Welteroth joined as a claimant. However, there is

nothing in this Court's record indicating that Welteroth was in fact joined as a party. As such, the

parties are not the same and the action should not be considered parallel.”)(emphasis added).

See also, e.g., Fuller, 2018 U.S. Dist. LEXIS 18431 (no parallel proceedings because “[a]lthough

at some point, the two cases may have had the same parties, that is no longer the case.”).

        Even assuming, arguendo, that Plaintiffs here are joined, the claims are still not even

close to parallel. This is an action for breach of contract, conversion, intentional interference

with    a   prospective    economic     advantage,    fraudulent    misrepresentation,    negligent

misrepresentation, common law fraud, defamation, and equitable estoppel. The Pennsylvania

case is a probate action, and has no such claims. The North Carolina case involves Defendant’s

claims for the cash value of Dan Capel’s body (conversion), emotional distress, and declaratory

relief. Ms. Norman does not have claims pending against Defendant in North Carolina.

   B.       Even if Defendant met her burden of showing parallel cases, she cannot establish
            “extraordinary circumstances” under the six-factors

        Even if Defendant somehow met the first test, she cannot meet the second: showing

“extraordinary circumstances” under six factors. The Third Circuit explained this second test:



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      In determining whether an action presents "extraordinary circumstances" we
      consider six factors: "(1) [in an in rem case,] which court first assumed jurisdiction
      over [the] property; (2) the inconvenience of the federal forum; (3) the desirability of
      avoiding piecemeal litigation; (4) the order in which jurisdiction was obtained; (5)
      whether federal or state law controls; and (6) whether the state court will adequately
      protect the interests of the parties.” Spring City, 193 F.3d at 171 "No one factor is
      determinative; a carefully considered judgment taking into account both the
      obligation to exercise jurisdiction and the combination of factors counseling against
      that exercise is required.” [citation omitted]. The balancing of factors is "heavily
      weighted in favor of the exercise of jurisdiction." [citation omitted]

Nationwide Mut. Fire Ins. Co. v. George V. Hamilton Inc., 571 F. 3d 299, 308 (3d Cir. 2009)

As shown below, the relevant factors weigh heavily against abstention.

   (1)      In rem jurisdiction over property

         This factor has little if any weight here. There is no res at issue in the North Carolina

proceeding. Both this action and the North Carolina action seek money damages, which are not

a res, so there is no risk of inconsistent ownership claims over the property.

   (2)      The inconvenience of the federal forum

         This factor weighs against abstention—both this case and the probate proceeding are in

Pennsylvania.     In addition, this case is brought in the federal court district in which the

Defendant resides. There can be no argument that the forum is inconvenient for the Defendant.

   (3)      The desirability of avoiding piecemeal litigation;

         “The Third Circuit has determined that this factor favors abstention only when there is

‘evidence of a strong federal policy that all claims should be tried in the state courts.’” Welteroth

The presence of garden-variety state law issues has not been considered sufficient evidence of a

federal policy to consolidate multiple lawsuits for unified resolution in the state courts.”

Welteroth, 2013 U.S. Dist. LEXIS 194143, * 8 (quoting and citing Ryan, 115 F.3d at 198). Here,

there simply is no federal policy asserting that Plaintiff’s claims should be tried in state courts.

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See, e.g., id (observing no federal policy for Plaintiff’s “garden-variety state law claim for breach

of contract that is wholly independent and easily severable from Sun's divorce proceeding in

California's state court”). This factor therefore weighs against abstention.

   (4)      The order in which jurisdiction was obtained

         “‘This factor, as with the other Colorado River factors, is to be applied in a pragmatic,

flexible manner with a view to the realities of the case at hand.’ Thus, priority should not be

measured exclusively by which complaint was filed first, but rather in terms of how much

progress has been made in the two actions.” Welteroth, 2013 U.S. Dist. LEXIS 194143 (quoting

and citing Moses H. Cone, 460 U.S. at 21). Here, there has been little progress. The North

Carolina action is still in the discovery phase, while Defendant has provided no indication how

far the Pennsylvania action has advanced. Importantly, there has be no progress on any of the

issues relevant to this case because each of those cases involve entirely different legal issues.

   (5)      Whether federal or state law controls

         “As [Moses H.] Cone made clear, while the presence of federal issues militates against

abstention, the converse cannot be said; abstention cannot be justified merely because a case

arises entirely under state law." Ryan, 115 F.3d at 199.      Here, Pennsylvania state law applies

pursuant to the Choice-of-Law Clause in the Separation Agreement.              This weights against

abstention. See, e.g., Welteroth (“The matter sub judice arises solely under the laws of one of

the several states, but does so through a choice of law provision establishing that Pennsylvania

law will govern. Such choice of law provisions are enforceable and routinely upheld….The issue

here involves a breach of contract, and Pennsylvania law was chosen to govern the action; a

body of law that this Court is frequently called upon to apply and interpret. Consequently, this

factor weights against abstention.”).


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      (6)       Whether the state court will adequately protect the interests of the parties.

            “This factor [whether the state court will adequately protect the interests of the Parties] is

generally a one-way ratchet, serving only to weigh against abstention where a state court is

incapable of protecting a party's interests.” Golden Gate Nat'l Senior Care, LLC v. Minich, 629

Fed. Appx. 348, 352 (3d Cir. 2015). Here, Plaintiffs are not parties in the Pennsylvania action,

and Harrison Capel is not a party in the North Carolina action—so there is reason to believe that

those court are not able to protect their interests. Therefore, this factor weighs against abstention.

            Balancing these factors in light of the Court’s duty to “heavily weigh[] [them] in favor of

the exercise of jurisdiction,” there is not doubt that this case lacks the “exceptional circumstances”

required to abstain under Colorado River—even assuming that there were parallel cases in the

first place, which there are not.

 X.         Defendant’s Half-Hearted Request for a Stay Should Be Denied

            Though this is a Motion to Dismiss, Defendant also asks this Court to stay the

proceedings. But Defendant provides no new grounds for its stay request. Rather, it just

rehashes the meritless abstention arguments. For the same reasons the abstention argument fails

so too mush the stay request—the parties are not the same, the legal issues are not the same, and

there is no overlap between the cases. Accordingly, a stay would not advance any judicial

economy issues and would serve only to delay justice.

XI.         Defendant’s Efforts to Avoid Suit by the Estate Are Meritless

            Defendant argues that Plaintiffs cannot bring a claim on behalf of the Estate of Dan Capel,

and, as a result, do not have standing to bring claims on behalf of the estate. But her attempts to

avoid any liability to the man she has defrauded for years fail. Importantly, even if the Estate

were dismissed, this Court would still retain jurisdiction over the claims in this case as both


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Brooke Norman and Harrison Capel clearly have standing. Thus, this case will go on regardless

of whether the Estate stays in. Accordingly, any judicial economy argument would clearly fail—

these issues will be conclusively determined in this case.

       Further, allowing Plaintiffs to assert this claim on the Estate’s behalf ensures that there is

a remedy for a violation of the Estate’s rights. Marbury v. Madison, 5 U.S. 137, 163 (1803)

recognized an incontrovertible truth: “every right, when withheld, must have a remedy, and

every injury its proper redress.” However, dismissing the claims on behalf of the Estate will

cause Dan Capel’s claims for breach of contract, fraud and other misconduct to be without a

remedy, as the Defendant would otherwise be insulated from legal challenge to the manner in

which she exercises her purported executrix duties. To be clear, though the Plaintiffs do not hold

formal letters of administration, the claims raised are for the benefit of the Estate, as they

preserve   the   decedent’s    assets   and   survivor       benefits   from   conversion   by   the

Defendant. Defendant cannot be trusted to do this, and indeed she has not.

       As the Defendant has defrauded the Estate, she cannot be in a position to determine

whether the Estate should proceed with claims against her. The Estate cannot be deprived of its

right to remedy this fraud against the decedent just because the fraudster refuses to sue herself.

Because this Court will retain jurisdiction over all of the claims in this case and because the

parties’ standing to bring suit on behalf of the estate will “relate back,” this Court should allow

the Estate to remain in this case at this early stage. Keeping the Estate in this case will not add

any unnecessary complications or costs for the parties, and it will ensure that there is an adequate

remedy for the allegedly wronged parties.

                                         CONCLUSION

       For the reasons set forth supra, the Motion to Dismiss should be denied.


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Dated: August 16, 2018:

                                   /s/ Kathryn Rimpfel
                                   Kathryn Rimpfel (PA319238)
                                   Teddy Baldwin (DC973850; pro hac vice
                                           application forthcoming)
                                   Graham Cronogue (DC1044036; pro hac vice
                                           application forthcoming)
                                   Baker & McKenzie LLP
                                   815 Connecticut Ave, NW
                                   Washington, DC 20006
                                   Phone: (202) 452-7000
                                   Fax: (202) 452-7074
                                   Kathryn.Rimpfel@bakermckenzie.com
                                   Teddy.Baldwin@bakermckenzie.com
                                   Graham.Cronogue@bakermckenzie.com
                                                  Attorneys for Plaintiffs




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